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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,
 1600 Pennsylvania Avenue NW
 Washington, D.C. 20500,

 THE TRUMP ORGANIZATION, INC.,                            Civil Action No. _______________
 TRUMP ORGANIZATION LLC,
 THE TRUMP CORPORATION,
 DJT HOLDINGS LLC,
 THE DONALD J. TRUMP REVOCABLE
 TRUST,
 725 Fifth Avenue
 New York, NY 10022,

 TRUMP OLD POST OFFICE LLC,
 1100 Pennsylvania Avenue NW
 Washington, D.C. 20004,

                                         Plaintiffs,

 v.

 ELIJAH E. CUMMINGS, in his official capacity
 as Chairman of the House Committee on
 Oversight and Reform,
 PETER KENNY, in his official capacity as
 Chief Investigative Counsel of the House
 Committee on Oversight and Reform,
 2157 Rayburn House Office Building
 Washington, D.C. 20515,

 MAZARS USA LLP,
 135 West 50th Street
 New York, NY 10020,

                                       Defendants.

                                           COMPLAINT
        Plaintiffs bring this action against Defendants for declaratory and injunctive relief and allege

as follows:
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                                          INTRODUCTION
          1.       The Democrat Party, with its newfound control of the U.S. House of Representatives,

has declared all-out political war against President Donald J. Trump. Subpoenas are their weapon of

choice.

          2.       Democrats are using their new control of congressional committees to investigate

every aspect of President Trump’s personal finances, businesses, and even his family. Instead of

working with the President to pass bipartisan legislation that would actually benefit Americans, House

Democrats are singularly obsessed with finding something they can use to damage the President

politically. They have issued more than 100 subpoenas and requests to anyone with even the most

tangential connection to the President.

          3.       This case involves one of those subpoenas. Last week, Defendant Elijah E. Cummings

invoked his authority as Chairman of the House Oversight Committee to subpoena Mazars USA

LLP—the longtime accountant for President Trump and several Trump entities (all Plaintiffs here).

Chairman Cummings asked Mazars for financial statements, supporting documents, and

communications about Plaintiffs over an eight-year period—mostly predating the President’s time in

office.

          4.       Chairman Cummings requested this information because Michael Cohen—a felon

who has pleaded guilty to lying to Congress—told the House Oversight Committee that the President

had misrepresented his net worth while he was a private citizen. The Committee, according to

Chairman Cummings, now needs to “investigate whether the President may have engaged in illegal

conduct.” The Chairman claims he can do so because the Oversight Committee can supposedly

investigate “any matter at any time.”

          5.       Chairman Cummings has ignored the constitutional limits on Congress’ power to

investigate. Article I of the Constitution does not contain an “Investigations Clause” or an “Oversight



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Clause.” It gives Congress the power to enact certain legislation. Accordingly, investigations are

legitimate only insofar as they further some legitimate legislative purpose. No investigation can be an

end in itself. And Congress cannot use investigations to exercise powers that the Constitution assigns

to the executive or judicial branch.

        6.       Chairman Cummings’ subpoena of Mazars lacks a legitimate legislative purpose. There

is no possible legislation at the end of this tunnel; indeed, the Chairman does not claim otherwise.

With this subpoena, the Oversight Committee is instead assuming the powers of the Department of

Justice, investigating (dubious and partisan) allegations of illegal conduct by private individuals outside

of government. Its goal is to expose Plaintiffs’ private financial information for the sake of exposure,

with the hope that it will turn up something that Democrats can use as a political tool against the

President now and in the 2020 election.

        7.       Because Chairman Cummings’ subpoena to Mazars threatens to expose Plaintiffs’

confidential information and lacks “a legitimate legislative purpose,” this Court has the power to

declare it invalid and to enjoin its enforcement. Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 501

n.14 (1975) (endorsing U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1259-60 (D.C. Cir. 1973)).

Plaintiffs are entitled to that relief.

                                                 PARTIES
        8.       Plaintiff Donald J. Trump is the 45th President of the United States. President Trump

brings this suit solely in his capacity as a private citizen.

        9.       Plaintiff The Trump Organization, Inc. is a New York corporation with its principal

place of business at 725 Fifth Avenue, New York, NY 10022.

        10.      Plaintiff Trump Organization LLC is a New York limited liability company with its

principal place of business at 725 Fifth Avenue, New York, NY 10022.




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        11.     Plaintiff The Trump Corporation is a New York corporation with its principal place

of business at 725 Fifth Avenue, New York, NY 10022.

        12.     Plaintiff DJT Holdings LLC is a Delaware limited liability company with its principal

place of business at 725 Fifth Avenue, New York, NY 10022.

        13.     Plaintiff The Donald J. Trump Revocable Trust is a trust created and operating under

the laws of New York.

        14.     Plaintiff Trump Old Post Office LLC is a Delaware limited liability company with its

principal place of business at 1100 Pennsylvania Avenue NW, Washington, D.C. 20004.

        15.     Defendant Elijah E. Cummings is the U.S. Representative for Maryland’s 7th District

and the Chairman of the House Committee on Oversight and Reform. He is a member of the

Democrat party. Chairman Cummings issued the subpoena in question and is sued in his official

capacity.

        16.     Defendant Peter Kenny is the Chief Investigative Counsel for the House Committee

on Oversight and Reform. He signed and served the subpoena in question and is sued in his official

capacity.

        17.     Defendant Mazars USA LLP is a New York limited liability partnership with its

principal executive office at 135 West 50th Street, New York, NY 10020. Mazars is an accounting firm

and the recipient of Chairman Cummings’ subpoena. Mazars is a defendant to ensure that Plaintiffs

can obtain effective relief.

                                  JURISDICTION & VENUE
        18.     This Court has subject-matter jurisdiction because this case arises under the

Constitution and laws of the United States. 28 U.S.C. §§1331, 2201.

        19.     Venue is proper because Chairman Cummings officially resides in the District. 28

U.S.C. §1391.



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                                           BACKGROUND
I.      Challenges to Congressional Subpoenas
        20.     Not infrequently, federal courts adjudicate the legality of congressional subpoenas.

Most such cases follow a familiar fact pattern: Congress issues a subpoena, the target does not comply,

Congress tries to force compliance in federal court, and the target raises the illegality of the subpoena

as a defense.

        21.     But this defensive posture is not the only way to challenge a congressional subpoena.

When Congress “seeks information directly from a party,” that party “can resist and thereby test the

subpoena.” Eastland, 421 U.S. at 501 n.14. But when Congress “seeks that same information from a

third person,” this option is not available; the third party might not have an interest in protecting the

information or resisting the subpoena, and its “compliance” with the subpoena “could frustrate any

judicial inquiry.” Id. For that reason, the law allows the person whose information will be exposed to

sue in federal court for an “injunction or declaratory judgment” to block the subpoena’s “issuance,

service on, or enforcement against” the “third party.” Eastland, 488 F.2d at 1259. The key question in

such a case is “whether a legitimate legislative purpose is present.” Eastland, 421 U.S. at 501.

        22.     The “legitimate legislative purpose” requirement stems directly from the Constitution.

“The powers of Congress … are dependent solely on the Constitution,” and “no express power in

that instrument” allows Congress to investigate individuals or to issue compulsory process. Kilbourn v.

Thompson, 103 U.S. 168, 182-89 (1880). The Constitution instead permits Congress to enact certain

kinds of legislation. See, e.g., Art. I, §8. Thus, Congress’ power to investigate “is justified solely as an

adjunct to the legislative process.” Watkins, 354 U.S. at 197. “Congress is not invested with a general

power to inquire into private affairs. The subject of any inquiry always must be one on which

legislation could be had.” Eastland, 421 U.S. at 504 n.15 (cleaned up); see also Quinn v. United States, 349

U.S. 155, 161 (1955) (“[T]he power to investigate” does not “extend to an area in which Congress is

forbidden to legislate.”).


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        23.     “Oversight” and “transparency,” in a vacuum, are not legitimate legislative purposes

that can justify subpoenaing a private citizen. For more than a century, in fact, the Supreme Court has

been quite “sure” that neither the House nor Senate “possesses the general power of making inquiry

into the private affairs of the citizen.” Kilbourn, 103 U.S. at 190. “[T]here is no congressional power to

expose for the sake of exposure.” Watkins, 354 U.S. at 200. “No inquiry is an end in itself; it must be

related to, and in furtherance of, a legitimate task of the Congress.” Id. at 187.

        24.     Additionally, because Congress must have a legitimate legislative purpose, it cannot use

subpoenas to exercise “any of the powers of law enforcement.” Quinn, 349 U.S. at 161. Those powers

“are assigned under our Constitution to the Executive and the Judiciary.” Id. Put simply, Congress is

not “a law enforcement or trial agency,” and congressional investigations conducted “for the personal

aggrandizement of the investigators” or “to ‘punish’ those investigated” are “indefensible.” Watkins,

354 U.S. at 187. Our tripartite system of separated powers requires that “any one of the[] branches

shall not be permitted to encroach upon the powers confided to the others, but that each shall by the

law of its creation be limited to the exercise of the powers appropriate to its own department and no

other.” Kilbourn, 103 U.S. at 190-91.

        25.     Finally, when a subpoena is issued by a single committee, any legislative purpose is not

legitimate unless it falls within that committee’s jurisdiction. “The theory of a committee inquiry is

that the committee members are serving as the representatives of the parent assembly in collecting

information for a legislative purpose.” Watkins, 354 U.S. at 200. Congress therefore must “spell out

that group’s jurisdiction and purpose with sufficient particularity … in the authorizing resolution,”

which “is the committee’s charter.” Id. at 201. The committee “must conform strictly to the

resolution.” Exxon Corp. v. FTC, 589 F.2d 582, 592 (D.C. Cir. 1978). And when an investigation is

“novel” or “expansive,” courts will construe the committee’s jurisdiction “narrowly.” Tobin v. United

States, 306 F.2d 270, 275 (D.C. Cir. 1962).



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II.    House Democrats’ Campaign of Abusive Investigations
       26.     After the 2018 midterm elections, the Democrat party won a majority of seats in the

House. Every House committee in the current Congress is thus chaired by a Democrat.

       27.     On the night of the election, soon-to-be Speaker Nancy Pelosi announced that

“tomorrow will be a new day in America” because House Democrats will use their new majority to

enact “checks and balances to the Trump administration.” And “subpoena power,” she explained a

few days later, is “a great arrow to have in your quiver.” Chairman Cummings echoed the Speaker’s

sentiments, stating that “it’s a new day” and that “[President Trump] has to be accountable.” He added

that “we’ve got to address this issue of exposing President Trump.” “Congress is going to force

transparency on this president,” another Democrat congressional aide repeated. “Once there is

transparency, I am sure there are going to be a lot of questions that flow from that.”

       28.     The Democrats’ statements about “checks and balances” and “transparency” were not

referring to legislation. Instead, according to news outlets that interviewed party leaders and aides

shortly after the election, House Democrats meant that they were going to spend the next two years

launching a “fusillade” of subpoenas in order to “drown Trump with investigations,” “turn Trump’s

life upside down,” and “make Trump’s life a living hell.”

       29.     Prominent Democrats were quite candid about their party’s mission. Representative

John Yarmuth, now chair of the House Budget Committee, stated that the new House majority would

be “brutal” for President Trump: “We’re going to have to build an air traffic control tower to keep

track of all the subpoenas flying from here to the White House.” Another senior Democrat official

revealed that, from November 2018 to January 2019, House Democrats were busy preparing a

“subpoena cannon” to fire at President Trump based on a “wish-list” of nearly 100 investigatory

topics. Representative Nita Lowey, now chair of the House Appropriations Committee, confirmed a




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long list of topics that House Democrats planned to investigate and stated, “We have our boxing

gloves on. I’m ready. And so is Nancy.”

        30.     The Democrats’ “focus,” according to then–Minority Whip Steny Hoyer, would be

examining “the President in terms of what [business] interests he has” from his time as a private

citizen. That focus would include the President’s family. Future Oversight Committee member

Alexandria Ocasio-Cortez, for instance, responded to a joke by the President’s son Donald Trump Jr.

with an explicit threat: “Please keep it coming Jr – it’s definitely a ‘very, very large brain’ idea to troll

a member of a body that will have subpoena power in a month.” The Democrats want this personal

information in the hopes they will find something they can use to score political points against the

President leading up to the 2020 election.

        31.     House Democrats are executing their plan in earnest. Recently, several House

committees issued a flurry of subpoenas and requests for information about the President’s family,

personal finances, and businesses. Just one request by Chairman Nadler of the House Judiciary

Committee, for example, asked 81 different individuals for information about President Trump.

        32.     A few days ago, House Republicans discovered that Chairman Cummings had

executed secret memoranda of understanding with Chairman Adam Schiff of the House Permanent

Select Committee on Intelligence and Chairwoman Maxine Waters of the House Financial Services

Committee. In the memoranda, the Chairs agreed to coordinate their subpoenas in order to inflict

maximum political damage on President Trump. According to one congressional official with

knowledge of the memoranda, they are “an agreement to conspire and coordinate their efforts to

attack and investigate POTUS” by targeting his business and financial records.

        33.     Last Monday, Chairman Cummings sent one such subpoena to Mazars—Plaintiffs’

longtime accountant. That subpoena is the subject of this lawsuit.




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III.   Chairman Cummings’ Subpoena to Mazars
       34.      The Mazars subpoena is based on one of the worst examples of the House Democrats’

zeal to attack President Trump under the guise of investigations: Michael Cohen’s testimony to the

House Oversight Committee on February 27, 2019.

       35.      The Cohen hearing was a partisan stunt, not a good-faith effort to obtain accurate

testimony from a reliable witness. Cohen is a convicted liar; before his February hearing, he had

pleaded guilty to several federal crimes including making false statements to Congress. Cohen’s

testimony was orchestrated by his lawyer Lanny Davis, a political operative for the Democrat party,

and Cohen met extensively with House Democrats about the contents of his testimony before he gave

it. The reason that Cohen testified, moreover, is so Chairman Cummings and other Democrats would

support his request for leniency during his federal sentencing. And according to Ranking Member Jim

Jordan, Cohen told several additional lies to Congress in his February testimony.

       36.      Nevertheless, Chairman Cummings seized on Cohen’s allegation that certain financial

statements—which Mazars had prepared for President Trump while he was a private citizen—

contained inaccuracies. Citing Cohen’s testimony, Chairman Cummings wrote to Mazars on March

20, 2019, asking it to produce the following information about President Trump:

       With respect to Donald J. Trump, Donald J. Trump Revocable Trust, the Trump
       Organization Inc., the Trump Organization LLC, the Trump Corporation, DJT Holdings
       LLC, the Trump Old Post Office LLC, the Trump Foundation, and any parent, subsidiary,
       affiliate, joint venture, predecessor, or successor of the foregoing:

       1.       All statements of financial condition, annual statements, periodic financial reports
                and independent auditors’ reports prepared, compiled, reviewed, or audited by
                Mazars USA LLP or its predecessor, WeiserMazars LLP;

       2.       Without regard to time, all engagement agreements or contracts related to the
                preparation, compilation, review, or auditing of the items described in Request
                Number 1;

       3.       All underlying, supporting, or source documents and records used in the
                preparation, compilation, review, or auditing of items described in Request




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                Number 1, or any summaries of such documents and records relied upon, or any
                requests for such documents and records; and

        4.      All memoranda, notes, and communications related to the preparation,
                compilation, review, or auditing of the items described in Request Number 1,
                including, but not limited to:

                a.      all communications between Donald Bender and Donald J. Trump or any
                        employee or representative of the Trump Organization; and

                b.      all communications related to potential concerns that records, documents,
                        explanations, or other information, including significant judgments,
                        provided by Donald J. Trump or other individuals from the Trump
                        Organization, were incomplete, inaccurate, or otherwise unsatisfactory.

                Unless otherwise noted, the time period covered by this request is from January 1,
        2009, to the present.

        37.     Chairman Cummings did not consult with Committee Republicans before sending his

request to Mazars. When they discovered the request, Representatives Jordan and Mark Meadows—

the Ranking Member of the Oversight Committee and the Subcommittee on Government Operations,

respectively—objected. They wrote Mazars informing it that, because Chairman Cummings’ request

seeks “information and material about President Trump’s personal finances … well before [he] was

even a candidate for federal office,” it “does not appear to have a valid legislative purpose and instead

seems to seek information to embarrass a private individual.” The Ranking Members repeated their

concerns in a letter to Chairman Cummings, explaining that the Chairman’s request “seems to examine

facts relating to a transaction that never materialized” and other “information [from] … well before

the President was even a candidate.” This is not an attempt at “legitimate oversight,” they added; its

only purpose is “to embarrass President Trump” and to maintain House Democrats’ “repeated

partisan attacks on the President.”

        38.     Mazars, through its outside counsel, wrote back to Chairman Cummings on March 27.

Mazars informed Chairman Cummings that it “cannot voluntarily turn over the documents.”




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        39.     Mazars was correct. Under its contract with Plaintiffs, Mazars must abide by the

American Institute of CPAs’ ethical rules, which prohibit accountants from “disclos[ing] any

confidential client information without the specific consent of the client.” AICPA Code of Prof’l

Conduct §1.700.001.01. New York law imposes the same duty. See 8 N.Y.C.R.R. §29.10(c)

(“[U]nprofessional conduct” by accountants includes the “revealing of personally identifiable facts,

data or information obtained in a professional capacity without the prior consent of the client.”). A

congressional subpoena does not relieve Mazars from these duties, unless the subpoena is “validly

issued and enforceable.” AICPA Code §1.700.001.02.

        40.     Chairman Cummings thus tried to craft a subpoena that would hold up in court.

Sensing this would be a tall order, the Chairman waited until the House left for its Easter break to

circulate a memorandum about the subpoena and then to issue it. This maneuver allowed him to

subpoena Mazars without first conferring with Committee Republicans and having to defend his

reasoning at an open meeting of the Oversight Committee.

        41.     Chairman Cummings’ memorandum, dated April 12, 2019, again cited Cohen’s

testimony as the basis for subpoenaing Mazars. The Chairman also suggested that “news reports have

raised additional concerns regarding the President’s financial statements and representations.” But the

first “news report”—a blog post from MSNBC’s Rachel Maddow Show—merely repeated Cohen’s

testimony. And the second “news report”—a March 2019 article from the Washington Post—quoted

legal experts who explained why the financial statements did not break any laws. The Chairman’s

memorandum nonetheless stated that the Committee needed to investigate “whether the President

has been accurate in his financial reporting.”

        42.     Ranking Member Jordan again objected to Chairman Cummings’ planned subpoena.

In an April 15 letter and memorandum, the Ranking Member explained that the subpoena “is an

unpreceded abuse of the Committee’s subpoena authority to target and expose the private financial



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information of the President of the United States” for “political gain.” The subpoena is an

impermissible attempt to “expose the private affairs of individuals,” the Ranking Member explained,

because “Chairman Cummings has cited no specific law or legislative proposal for which he requires

eight years of sensitive, personal financial information about President Trump.” Ranking Member

Jordan also noted his deep concern that Chairman Cummings would selectively leak whatever

information he obtained from Mazars, citing examples where the Chairman had strategically leaked

similar sensitive information in the past.

        43.     Despite the Ranking Members’ objections, Chairman Cummings issued the subpoena

to Mazars that same day. The subpoena was identical to the Chairman’s initial request for information,

except that it asked for information from “2011 through 2018” instead of “2009 to the present.” The

subpoena currently orders Mazars to comply by noon on April 29, 2019.

        44.     Ranking Member Jordan responded to the subpoena in a letter dated April 17. The

subpoena, he explained, “is an act of raw partisan politics meant only to further your obsession with

attacking the President of the United States.” Chairman Cummings “did not dispute the fact that [his]

subpoena to Mazars is part of a coordinated and carefully managed campaign to use congressional

oversight for political gain,” the Ranking Member observed, and never “articulated how the sensitive,

personal financial information [he] seek[s] will advance a legitimate legislative purpose.”

        45.     Plaintiffs bring this suit to challenge the validity and enforceability of Chairman

Cummings’ subpoena. Now that the subpoena has issued, Mazars faces an unfair choice: ignore the

subpoena and risk contempt of Congress, or comply with the subpoena and risk liability to Plaintiffs

if the subpoena is invalid or unenforceable. To resolve these conflicting commands, the D.C. Circuit

has instructed third-party accountants like Mazars to hold onto the subpoenaed materials until the

dispute over the subpoena’s validity is finally resolved in court: “[AICPA] Rule 301 … explains that it

‘shall not be construed ... to affect in any way the member’s obligation to comply with a validly issued



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and enforceable subpoena or summons.’ But [the client] challenges the enforceability of a subpoena

…. Thus [the accountant] c[an] refuse to produce the documents, thereby allowing [the client to litigate

the subpoena], without violating its obligation to comply with enforceable subpoenas.” United States v.

Deloitte LLP, 610 F.3d 129, 142 (D.C. Cir. 2010). Congress thus cannot take any action against Mazars

until this litigation is finally resolved.

                                             CLAIM FOR RELIEF
        46.      Plaintiffs incorporate all their prior allegations.

        47.      Chairman Cummings’ subpoena is invalid and unenforceable because it has no

legitimate legislative purpose.

        48.      The subpoena seeks to investigate events that occurred while President Trump was a

private citizen, years before he was even a candidate for public office.

        49.      The subpoena seeks to investigate events that could not possibly lead to legislation

within the Oversight Committee’s statutory jurisdiction and constitutional authority.

        50.      The subpoena is an attempt to investigate and adjudicate possible violations of federal

law by private individuals—law-enforcement powers that only the executive and judicial branches can

exercise.

        WHEREFORE, Plaintiffs ask this Court to enter judgment in their favor and to provide the

following relief:

    a. A declaratory judgment that Chairman Cummings’ subpoena is invalid and unenforceable;

    b. A permanent injunction quashing Chairman Cummings’ subpoena;

    c. A permanent injunction prohibiting Chairman Cummings and Mr. Kenny from taking any

        actions to enforce the subpoena, from imposing sanctions for noncompliance with the

        subpoena, and from inspecting, using, maintaining, or disclosing any information obtained as

        a result of the subpoena;



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  d. A temporary restraining order and preliminary injunction prohibiting Mazars from producing

      the requested information, and prohibiting Chairman Cummings and Mr. Kenny from taking

      any actions to enforce the subpoena, until the subpoena’s validity has been finally adjudicated

      on the merits;

  e. Plaintiffs’ reasonable costs and expenses, including attorneys’ fees; and

  f. All other preliminary and permanent relief to which Plaintiffs are entitled.

                                                      Respectfully submitted,

Dated: April 22, 2019                                  s/ William S. Consovoy       T

Stefan C. Passantino (D.C. Bar #480037)               William S. Consovoy (D.C. Bar #493423)
MICHAEL BEST & FRIEDRICH LLP                          Cameron T. Norris
1000 Maine Ave. SW, Ste. 400                          CONSOVOY MCCARTHY PARK PLLC
Washington, D.C. 20024                                3033 Wilson Blvd., Ste. 700
(202) 747-9582                                        Arlington, VA 22201
spassantino@michaelbest.com                           (703) 243-9423
                                                      will@consovoymccarthy.com
Counsel for The Trump Organization, Inc., Trump       cam@consovoymccarthy.com
Organization LLC, The Trump Corporation, DJT
Holdings LLC, The Donald J. Trump Revocable           Patrick Strawbridge
Trust, and Trump Old Post Office LLC                  CONSOVOY MCCARTHY PARK PLLC
                                                      Ten Post Office Square
                                                      8th Floor South PMB #706
                                                      Boston, MA 02109
                                                      patrick@consovoymccarthy.com

                                                      Counsel for President Donald J. Trump




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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Donald J. Trump; The Trump Organization, Inc.; Trump                           Elijah E. Cummings, Peter Kenny, Mazars USA LLP
 Organization LLC; The Trump Corporation; DJT Holdings
 LLC; The Donald J. Trump Revocable Trust;Trump Old
 Post Office LLC
                                                         11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 William S. Consovoy                                                            Stefan C. Passantino
 Consovoy McCarthy Park PLLC                                                    Michael Best & Friedrich LLP
 3033 Wilson Blvd., Ste. 700, Arlington, VA 22201                               1000 Maine Ave. SW, Ste. 400
 (703) 243-9423                                                                 Washington, D.C. 20024

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                         Case 1:19-cv-01136-APM Document 1-1 Filed 04/22/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   28 USC §§1331, 2201. Suit for declaratory and injunctive relief challenging a congressional subpoena.

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


              4/22/2019
 DATE: _________________________                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                     Case 1:19-cv-01136-APM Document 1-2 Filed 04/22/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia

                                                                    )
                 DONALD J. TRUMP, et al.                            )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
 ELIJAH E. CUMMINGS, PETER KENNY, MAZARS                            )
                 USA LLP                                            )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Honorable Elijah E. Cummings
                                           Chairman, House Committee on Oversight and Reform
                                           United States House of Representatives
                                           2157 Rayburn House Office Building
                                           Washington, D.C. 20515



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Consovoy
                                           Consovoy McCarthy Park PLLC
                                           3033 Wilson Blvd., Ste. 700
                                           Arlington, VA 22201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 1:19-cv-01136-APM Document 1-2 Filed 04/22/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                     Case 1:19-cv-01136-APM Document 1-3 Filed 04/22/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia

                                                                     )
                 DONALD J. TRUMP, et al.                             )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.
                                                                     )
 ELIJAH E. CUMMINGS, PETER KENNY, MAZARS                             )
                 USA LLP                                             )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Peter Kenny
                                           Chief Investigative Counsel, House Committee on Oversight and Reform
                                           United States House of Representatives
                                           2157 Rayburn House Office Building
                                           Washington, D.C. 20515



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Consovoy
                                           Consovoy McCarthy Park PLLC
                                           3033 Wilson Blvd., Ste. 700
                                           Arlington, VA 22201



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 1:19-cv-01136-APM Document 1-3 Filed 04/22/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
